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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
      Plaintiff,                          )
                                          )
v.                                        ) No. 4:20-cr-00405 AGF SPM
                                          )
MICHAEL FEIN,                             )
                                          )
      Defendant.                          )

                       GOVERNMENT'S ENTRY OF APPEARANCE

       COMES NOW Jeffrey B. Jensen, United States Attorney for the Eastern District of

Missouri, and Hal Goldsmith, Assistant United States Attorney for said District, and hereby enter

their appearance on behalf of the United States.

                                                    Respectfully submitted,

                                                    JEFFREY B. JENSEN
                                                    United States Attorney



                                                        /s/ Hal Goldsmith
                                                    HAL GOLDSMITH, #32984(MO)
                                                    Assistant United States Attorney
                                                    111 South 10th Street, Room 20.333
                                                    St. Louis, Missouri 63102
                                                    (314) 539-2200
